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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  Richard Hunstein,
                                                   Case No.: 8:19-cv-00983
         Plaintiff,

         v.
                                                   Ad Damnum: $2,000 + Fees and Costs
  Preferred Collection and Management
  Services, Inc.
                                                      JURY TRIAL DEMANDED
         Defendants.



                   COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, Richard Hunstein, (“Mr. Hunstein”), by and

 through his attorneys, Seraph Legal, P.A., and complains of the Defendant, Preferred

 Collection and Management Services, Inc. (“Preferred”), stating as follows:


                             PRELIMINARY STATEMENT

        1.      This is an action brought by Mr. Hunstein against Preferred for violations

 of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”) and the

 Florida Consumer Collection Practices Act, Section 559.55, et seq., Florida Statutes

 (“FCCPA”).

                              JURISDICTION AND VENUE

        2.      Subject matter jurisdiction arises under the FDCPA, 15 U.S.C. § 1692k(d),

 the FCCPA, Section 559.77(1), Florida Statutes, and 28 U.S.C § 1331.

        3.      Preferred is subject to the provisions of the FDCPA and to the jurisdiction

 of this Court pursuant to Fed. R. Civ. P. 4(k).

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         4.      This Court has supplemental jurisdiction for Mr. Hunstein’s FCCPA claims

 pursuant to 28 U.S.C. § 1367.

         5.      Venue is proper in the Middle District of Florida pursuant to 28 U.S.C.

 §1391(b)(2) because the acts complained of were committed and / or caused by the

 Defendant therein.


                                           PARTIES

         6.      Mr. Hunstein is a natural person residing in Spring Hill, Hernando County,

 Florida, and a consumer as defined by 15 U.S.C. § 1692a(3).

         7.      Preferred is a Florida corporation, with a primary business address of 1000

 N Ashley Dr., Suite 600, Tampa, FL 33602.

         8.      Preferred’s Registered Agent is David M. Kelley, 1705 Magdalene Dr.,

 Tampa, FL 33613.

         9.      Preferred is a debt collector within the meaning of 15 U.S.C. § 1692a(6), in

 that it uses postal mail, an instrumentality of interstate commerce, across state lines into

 Florida for its business, the principal purpose of which is the collection of debts, and/or it

 regularly collects or attempts to collect, directly or indirectly, debts owed or due or asserted

 to be owed or due another.

         10.     Preferred is licensed as a Consumer Collection Agency (“CCA”) by the

 Florida Office of Financial Regulation, holding license number CCA9902277. SEE

 PLAINTIFF’S EXHIBIT A.

         11.     As a licensee, Preferred knows, or should know, the requirements of both

 the FDCPA and FCCPA.


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                                 FACTUAL ALLEGATIONS
        12.        Around July 6, 2018, Mr. Hunstein’s son was treated at Johns Hopkins All

 Children’s Hospital (“ACH”).

        13.        ACH later claimed that Mr. Hunstein incurred a medical debt of $2,449.93

 for charges not covered by insurance (the “Debt”).

        14.        Thereafter, ACH transferred the Debt to Preferred for collection.

        15.        Preferred decided to contact Mr. Hunstien about the debt via written

 correspondence.

        16.        However, rather than preparing and mailing a collection letter on its own,

 Preferred sent information regarding Mr. Hunstein and the Debt to a commercial mail

 house in or around Concord, California (“mail house”).

        17.        Upon information and belief, the name of the mail house was CompuMail,

 located in Concord, California.

        18.        Preferred disclosed to the mail house:

              a.   Mr. Hunstein’s status as a debtor;

              b. the fact that Mr. Hunstein allegedly owed $2,449.23 to ACH;

              c. the fact the Debt concerned his son’s medical treatment;

              d. his son’s name; and,

              e. other highly personal pieces of information.

        19.        The mail house then populated some or all of this information into a pre-

 written template, printed, and mailed the letter from California to Mr. Hunstein’s residence

 in Florida. SEE PLAINTIFF’S EXHIBIT B.



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         20.    The FDCPA defines “communication” at 15 U.S.C. § 1692a(3) as “the

 conveying of information regarding a debt directly or indirectly to any person through any

 medium.”

         21.    The sending of an electronic file containing information about Mr.

 Hunstein’s purported debt to a mail house is therefore a communication.

         22.    Preferred’s communication to the mail house was in connection with the

 collection of a Debt since it involved disclosure of the Debt to a third-party with the

 objective being communication with and motivation of the consumer to pay the alleged

 Debt.

         23.    Mr. Hunstein never consented to having his personal and confidential

 information, concerning the Debt or otherwise, shared with anyone else.

         24.    In limiting disclosures to third parties, the FDCPA states, at 15 U.S.C. §

 1692c(b):

                “Except as provided in section 1692b of this title, without the prior consent of the
                consumer given directly to the debt collector, or the express permission of a court
                of competent jurisdiction, or as reasonably necessary to effectuate a post judgment
                judicial remedy, a debt collector may not communicate, in connection with the
                collection of any debt, with any person other than the consumer, his attorney, a
                consumer reporting agency if otherwise permitted by law, the creditor, the attorney
                of the creditor, or the attorney of the debt collector.” (emphasis added).

         25.    The mail house used by Preferred as part of its debt collection effort against

 Mr. Hunstein does not fall within any permitted exception provided for in 15 U.S.C. §

 1692c(b).

         26.    Due to Preferred’s communication to this mail house, information about Mr.

 Hunstein and his son, including their names, medical issues, treatment dates, the amount



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 allegedly owed, and their home address are all within the possession of an unauthorized

 third-party.

           27.   If a debt collector “conveys information regarding the debt to a third party

 - informs the third party that the debt exists or provides information about the details of the

 debt - then the debtor may well be harmed by the spread of this information.” Brown v.

 Van Ru Credit Corp., 804 F.3d 740, 743 (6th Cir. 2015).

           28.   Preferred unlawfully communicates with the unauthorized third-party mail

 house solely for the purpose of streamlining its generation of profits without regard to the

 propriety and privacy of the information which it discloses to such third-party.

           29.   In its reckless pursuit of a business advantage, Preferred disregarded the

 known, negative effect that disclosing sensitive medical information to an unauthorized

 third-party has on consumers.

           30.   Mr. Hunstein has hired the aforementioned law firm to represent him in this

 matter and is obligated to pay its reasonable fees or has assigned his rights to fees and costs

 to the aforementioned firm.


                                  COUNT I
                    PREFERRED’S VIOLATIONS OF THE FDCPA

           31.   Mr. Hunstein adopts and incorporates paragraphs 1 – 30 as if fully stated

 herein.

           32.   Preferred violated 15 U.S.C. § 1692c(b) when it disclosed information

 about Mr. Hunstein’s purported ACH debt to the employees of an unauthorized third-party

 mail house in connection with the collection of the Debt.



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           33.   Preferred violated 15 U.S.C. § 1692f by using unfair means in connection

 with the collection a debt, to wit, knowingly disclosing sensitive medical information about

 Mr. Hunstein’s son, to third parties not expressly authorized under the FDCPA.

           34.   Preferred’s conduct renders it liable for the above-stated violations of the

 FDCPA, and Mr. Hunstein is therefore entitled to statutory damages not to exceed $1,000

 as well as other relief.

           35.   Preferred intentionally made these communications in order to gain an

 advantage over other debt collectors and generate additional profits.

           36.   By its conduct, Preferred is liable under the FDCPA for statutory damage

 up to $1,000 and other compensation.

           WHEREFORE, Mr. Hunstein respectfully requests this Honorable Court enter

 judgment against Preferred, for:

           (a)   Statutory damages of $1,000.00, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

           (b)   Actual damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

           (c)   Reasonable costs & attorneys’ fees under to 15 U.S.C. § 1692k(a)(3); and,

           (d)   Such other relief that this Court deems just and proper.


                                     COUNT II
                              VIOLATION OF THE FCCPA

           37.   Ms. Hunstein adopts and incorporates paragraphs 1 – 30 as if fully stated

 herein.

           38.   Preferred violated Section 559.72(5), Florida Statutes, when it disclosed to

 CompuMail, a third party, information that would affect Mr. Hunstein’s reputation,

 specifically details about Mr. Hunstein’s son’s medical issues and his payment of debts.

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 Preferred knew there was no legitimate business need for this information, since Preferred

 could easily have prepared and mailed the letter itself without disclosing the information

 to a third party.

         39.      Preferred intentionally chose to disclose this information to CompuMail as

 part of its debt collection effort solely to increase its operational efficiency and profits.

         40.      Preferred’s conduct renders it liable for the above-stated violations of the

 FCCPA, and Mr. Hunstein is therefore entitled to statutory damages not to exceed $1,000

 as well as other relief.

         WHEREFORE, Mr. Hunstein respectfully requests this Honorable Court enter

 judgment, for:

               a. Statutory damages of $1,000.00 pursuant to Section 559.77(2), Florida

                  Statutes;

               b. Unspecified actual damages pursuant to Section 559.77(2), Florida Statutes;

               c. Injunctive relief preventing the Defendants from making any further

                  communications to the unauthorized third party, CompuMail, when

                  attempting to collect a consumer debt.

               d. Reasonable costs and attorney’s fees pursuant to pursuant to Section

                  559.77(2), Florida Statutes; and,

               e. Such other relief that this Court deems just and proper.




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                             DEMAND FOR JURY TRIAL

        Mr. Hunstein demands a jury trial on all issues so triable.

 Respectfully submitted April 24, 2019, by:

                                                   /s/Thomas M. Bonan____________
                                                   Thomas M. Bonan, Esq.
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 Exhibits
 A – Defendant’s Consumer Collection Agency License for Florida
 B – Defendant’s Collection Letter to Plaintiff Dated January 29, 2019




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